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AO 245D-CAED (Rev. 09/2019) Sheet 1 - Judgment in a Criminal Case for Revocation



                              UNITED STATES DISTRICT COURT
                                                Eastern District of California
                UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                                              (For Revocation of Probation or Supervised Release)
                            v.
                    FELIX ALEJANDRO                                           Criminal Number: 1:11CR00354-019
                                                                              Defendant's Attorney: Victor Nasser, Appointed
THE DEFENDANT:
       admitted guilt to violation of charge(s)      3    as alleged in the violation petition filed on    8/4/2023 .
       was found in violation of condition(s) of supervision as to charge(s)             after denial of guilt, as alleged in the violation petition
       filed on   .

The defendant is adjudicated guilty of these violations:
Violation Number                  Nature of Violation                                                             Date Violation Ended
CHARGE 3                               NEW LAW VIOLATION                                                          August 2, 2023

The court:         revokes:       modifies:        continues under same conditions of supervision heretofore ordered on             9/23/2013 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

       Charge(s)     1, 2 and 4    are dismissed. [X] APPEAL RIGHTS GIVEN.

        Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        It is ordered that the defendant shall notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.
                                                                             1/6/2025
                                                                             Date of Imposition of Sentence
                                                                             /s/ Jennifer L. Thurston
                                                                             Signature of Judicial Officer
                                                                             Jennifer L. Thurston, United States District Judge
                                                                             Name & Title of Judicial Officer
                                                                             1/10/2025
                                                                             Date
                      Case 1:11-cr-00354-JLT Document 899 Filed 01/10/25 Page 2 of 2
AO 245B-CAED (Rev. 09/2019) Sheet 2 - Imprisonment
DEFENDANT: FELIX ALEJANDRO                                                                                                      Page 2 of 2
CASE NUMBER: 1:11CR00354-019

                                                           IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
18 months to be served CONCURRENTLY to 1:24CR00045-001 JLT SKO.

      No TSR: Defendant shall cooperate in the collection of DNA.

      The court makes the following recommendations to the Bureau of Prisons:
      The court recommends that the defendant be incarcerated in the west coast of the United States facility, but only insofar as this
      accords with security classification and space availability.

      The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district
              at     on     .
              as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before       on    .
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Officer.
       If no such institution has been designated, to the United States Marshal for this district.

      Other, Please Specify:


                                                                 RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                        to
at                                                   , with a certified copy of this judgment.



                                                                        United States Marshal


                                                                        By Deputy United States Marshal
